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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                    CRIMINAL NO. 1:12CR52-19

TRENEAL WILLIAMS

                       ORDER DENYING MOTION TO AMEND
                      JUDGMENT AND COMMITMENT ORDER

       BEFORE THE COURT is defendant Treneal Williams’ pro se Motion [606] to

Amend Judgment and Commitment Order, filed October 19, 2015. Williams was

sentenced by this Court on March 28, 2011, to 106 months incarceration for

possession with intent to distribute cocaine base. After he began serving his federal

sentence, he was taken into custody by the State of Mississippi on April 12, 2013, on

charges of receiving stolen property and grand larceny.1 He remained in state

custody serving sentences in those cases until July 10, 2014, when he was returned

to federal custody.

       Williams requests that the Court amend the Judgment in this case to give

him credit for time served in state custody from April 12, 2013, to July 10, 2014.

Court finds no authority to do so. The Sentencing Guidelines would have allowed

the Court to run the federal sentence concurrently with any anticipated state

sentences if the state charged conduct was relevant to the federal case. U.S.S.G. §

5G1.3(c). However, the State of Mississippi punished Williams for conduct that was



       1
           Circuit Court of Jackson County, Mississippi, Nos. 2010-10,371 and 2013-
10,468.
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separate from the conduct at issue in the federal case. Therefore, the Court had,

and has, no basis for ordering that Williams be given credit for time served in state

custody.

      IT IS THEREFORE ORDERED AND ADJUDGED that Treneal Williams’

Motion [606] to Amend Judgment and Commitment Order is DENIED.

      SO ORDERED AND ADJUDGED this the 12th day of April, 2016.



                                               s/   Louis Guirola, Jr.
                                               LOUIS GUIROLA, JR.
                                               CHIEF U.S. DISTRICT JUDGE




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